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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

 UNITED STATES OF AMERICA                        )
                                                 )
       v.                                        )        1:15-cr-00040-JAW
                                                 )
 JERMAINE MITCHELL and                           )
 AKEEN OCEAN                                     )


            ORDER ON MOTION IN LIMINE AND MOTION TO SEVER

       Concluding that Mr. Mitchell has failed to demonstrate that the admission of

 his co-defendant’s out-of-court statements at trial will violate the Confrontation

 Clause, the Court denies Mr. Mitchell’s motion in limine to exclude the out-of-court

 statements, or in the alternative, to sever the trial.

 I.    PROCEDURAL BACKGROUND

       On February 12, 2015, a federal grand jury indicted Jermaine Mitchell and

 Akeen Ocean (Defendants), along with nine others, charging them with engaging in

 a conspiracy to distribute cocaine base. Indictment (ECF No. 3). Mr. Ocean pleaded

 not guilty to the charge on February 20, 2015, Entry (ECF No. 74), as did Mr. Mitchell

 on March 13, 2015. Entry (ECF No. 149). The Defendants’ jury trial is set to begin

 on June 20, 2016, Notice of Hr’g (ECF No. 430), with the jury having been selected on

 June 7, 2016. Entry (ECF No. 482).

       On June 6, 2016, Mr. Mitchell filed a motion in limine seeking to exclude from

 evidence statements made by Mr. Ocean to law enforcement regarding the existence

 of a conspiracy and Mr. Mitchell’s involvement in a conspiracy, or in the alternative

 to sever the Defendants’ trial. Mot. In Limine Re: Statements of Co-Def. or, in the
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 Alternative, to Sever Defs. (ECF No. 479) (Def.’s Mot.). The Government filed its

 objection to Mr. Mitchell’s motion on that same day. Gov’t’s Obj. to Def.’s Mot. In

 Limine Re: Statements of Co-Def. or, in the Alternative, to Sever Defs. (ECF No. 480)

 (Gov’t’s Opp’n). On June 9, 2016, the Court issued an order denying Mr. Ocean’s

 amended motion to suppress the statements he made to law enforcement at issue in

 Mr. Mitchell’s motion in limine. Order on Mot. to Suppress (ECF No. 487).

 II.   STATEMENT OF FACTS

       In early September, 2014, as part of the investigation into the illegal activities

 of a New Haven, Connecticut based street gang known as the Red Side Guerilla Brims

 (RSGB), several officers and agents from the New Haven Police Department (NHPD)

 and the New Haven Office of the Bureau of Alcohol, Tobacco, Firearms and Explosives

 travelled to Bangor, Maine to work with Maine Drug Enforcement Agency agents in

 conducting interviews and engaging in enforcement activity. Aff. of Martin Podsiad

 at 1 (ECF No. 355-1) (Podsiad Aff.).       On the afternoon of September 4, 2014,

 Detectives Martin Podsiad, Josh Kyle, and Alberto Merced of the NHPD interviewed

 Mr. Ocean concerning his knowledge of RSGB activity. Id. The interview was

 recorded and has been transcribed by the Government. 9/4/2014 Interview of Akeen

 Ocean (ECF Nos. 355-2, 355-3, 355-4) (Tr.). During the interview, Mr. Ocean told the

 Detectives, inter alia, about the drug trafficking activities of alleged co-conspirators

 Rodrigo Ramirez and Christian Turner. Tr. at 6. Mr. Ocean also mentioned “MB” as

 being involved with Turner and Ramirez. Id. at 7. “MB” is allegedly one of Mr.

 Mitchell’s nicknames.



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        Counsel for the Government and for Mr. Mitchell discussed the recording and

 transcript of the interview of Mr. Ocean, and defense counsel raised concerns about

 Bruton1 Confrontation Clause issues.            Def.’s Mot. at 2.      On May 26, 2016, the

 Government prepared a redacted audio recording and redacted transcript of the

 interview of Mr. Ocean and provided it to Mr. Mitchell, removing any mention of Mr.

 Mitchell or “MB.”2 Gov’t’s Opp’n at 1.

 III.   POSITIONS OF THE PARTIES

        A.     Jermaine Mitchell’s Motion

        Mr. Mitchell argues that though the Government has prepared a redacted

 version of the recording and transcript of Mr. Ocean’s interview with law enforcement

 eliminating his name, the interview still contains evidence concerning the existence

 of the conspiracy which is “powerfully incriminating” and should be excluded

 pursuant to Bruton. Def.’s Mot. at 2-3. Specifically, Mr. Mitchell argues that under

 Bruton and First Circuit precedent a co-defendant’s out-of-court statements may be

 introduced at a joint trial, provided that “(i) the district court instructs the jury not

 to consider the statements against any defendant other than the declarant and (ii)

 the statements are not so powerfully inculpating of the other defendant that there

 would be substantial doubt as to whether the jury could abide by a limiting

 instruction.” Id. at 2.

        Mr. Mitchell concedes that “a defendant’s out-of-court confession generally will

 be admitted if it is redacted to delete the [co-defendant’s] name and any reference,


 1      Bruton v. United States, 391 U.S. 123 (1968).
 2      Redacted versions of the recording and transcript have not been submitted to the Court.

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 direct or indirect, to his or her existence,” id. at 2-3 (citing Richardson v. Marsh, 481

 U.S. 200, 211 (1987); United States v. Vega Molina, 407 F.3d 511, 519 (1st Cir. 2005)),

 and that “[s]tatements that are incriminating only when linked to other evidence in

 the case do not trigger application of Bruton’s preclusionary rule.” Id. at 3 (citing

 Richardson, 481 U.S. at 208). He contends that although the redaction eliminates

 any mention of Mr. Mitchell, Mr. Ocean’s statement is powerfully incriminating on

 the issue of the existence of the conspiracy because Mr. Ocean is from a completely

 different circle of participants from some of the other witnesses who will offer similar

 testimony regarding the existence of the conspiracy, and if Mr. Ocean does not take

 the witness stand, Mr. Mitchell “will have virtually no opportunity to cross-examine

 the statement, thereby impinging his 6th Amendment right to confrontation.” Id.

       Lastly, Mr. Mitchell contends that several statements made by Mr. Ocean and

 the Detectives during the September 4, 2014 interview are hearsay, lack relevance,

 and are unfairly prejudicial pursuant to Federal Rule of Evidence 403. Id. at 3-4. He

 petitions the Court to make preliminary evidentiary rulings on these statements,

 exclude them from the joint trial, or in the alternative, sever the Defendants and

 conduct separate trials. Id. at 4-5.

       B.     The Government’s Opposition

       The Government argues that because the audio recording and transcript of Mr.

 Ocean’s interview have been redacted to remove any reference to Mr. Mitchell, and

 because the Government does not intend to use this evidence against Mr. Mitchell,

 Mr. Ocean’s statement does not present a Bruton problem. Gov’t’s Opp’n at 3. The



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 Government contends that, in the redacted form, Mr. Ocean’s statements are not

 “powerfully inculpating or inculpating at all” of Mr. Mitchell, as the statement does

 not identify Mr. Mitchell, much less as a perpetrator of the crime. Id.           The

 Government suggests that when the audio recording of the interview is played, the

 Court should instruct the jury not to consider the statements against Mr. Mitchell.

 Id. (citing Vega Molina, 407 F.3d at 519). Moreover, the Government argues that

 because Mr. Mitchell’s argument regarding the incriminating nature of Mr. Ocean’s

 statement cannot be made without linking that statement to other evidence that Mr.

 Mitchell anticipates will be offered during trial, the statement by definition is not

 powerfully incriminating. Id. (citing Vega Molina, 407 F.3d at 520) (statements that

 are incriminating only when linked to other evidence in the case do not trigger

 application of Bruton’s preclusionary rule).

       In conclusion, the Government submits that assuming the Court gives a

 limiting instruction to the jury to the effect that the statements of Mr. Ocean should

 not be considered in anyway against Mr. Mitchell, “Mr. Mitchell’s hearsay and other

 evidentiary objections to the recording have virtually no force.”     Id. at 4.   The

 Government argues that evidentiary objections to evidence that the jury will be

 instructed not to consider against Mr. Mitchell “are objections that do not need to be

 made or ruled upon by the Court,” and urges the Court to deny Mr. Mitchell’s motion

 in limine and motion to sever Defendants. Id.

 IV.   DISCUSSION

       A.     The Confrontation Clause and Bruton



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        The Confrontation Clause of the Sixth Amendment, extended to the States by

 the Fourteenth Amendment, guarantees the right of a criminal defendant “to be

 confronted with the witnesses against him.” Richardson, 481 U.S. at 206 (citing U.S.

 CONST. amend. VI). The right of confrontation includes the right to cross-examine

 witnesses. Id.; Pointer v. Texas, 380 U.S. 400, 404, 406-407 (1965). In Bruton, the

 Supreme Court held that the admission of a defendant’s confession that inculpated

 his co-defendant violated that co-defendant’s Sixth Amendment right of cross-

 examination. 391 U.S. at 126.3 In support, the Bruton Court cited the Advisory

 Committee of the Federal Rules, which had issued the following note two years prior:

 “A defendant may be prejudiced by the admission in evidence against a co-defendant

 of a statement or confession made by that co-defendant. This prejudice cannot be

 dispelled by cross-examination if the co-defendant does not take the stand. Limiting

 instructions to the jury may not in fact erase the prejudice.” FED. R. CRIM. P. 14

 advisory committee’s note (1966).

        The co-defendant’s confession in Bruton “expressly implicat[ed]” the defendant

 as his accomplice and was “powerfully incriminating.” 391 U.S. at 124 n.1, 135. In

 Richardson, the Supreme Court held that where a confession is not incriminating on

 its face, and becomes so only when linked with evidence introduced later at trial, it




 3       Bruton and his co-defendant, Evans, were tried jointly for armed postal robbery. At the trial,
 a postal inspector testified that Evans orally confessed to him that he and Bruton committed the armed
 robbery. Both defendants were convicted, and Bruton argued on appeal that this evidence should have
 been deemed inadmissible. The Supreme Court held that the admission of Evans’ confession violated
 Bruton’s right of cross-examination under the Sixth Amendment. Id. at 126.

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 does not trigger exclusion of a co-defendant’s confession under Bruton. 481 U.S. at

 208.

        Moreover, the Confrontation Clause is not violated by the admission of a non-

 testifying co-defendant’s confession when proper limiting instructions are given and

 the confession is redacted to eliminate the defendant’s name and any reference to

 him. Id. at 211; Vega Molina, 407 F.3d at 519 (a defendant's out-of-court statements

 may be introduced at a joint trial if “(i) the district court instructs the jury not to

 consider the statements against any defendant other than the declarant and (ii) the

 statements are not so powerfully inculpating of the other defendants that there would

 be substantial doubt as to whether the jury could abide by a limiting instruction”; a

 defendant’s out-of-court confession generally will be admitted “if it is redacted to

 delete the codefendant’s name and any reference, direct or indirect, to his or her

 existence”).

        The un-redacted section of the transcript of Mr. Ocean’s interview that involves

 Mr. Mitchell reads as follows:

        Podsiad:     That’s fine, tell me about them. When did you start dealing
                     with them?

        Ocean:       Son, that was, I ain’t dealt with Rico in like two years; that
                     was back in like 2011, 2010.

        Podsiad:     Okay.

        Ocean:       Mm.

        Podsiad:     How was you introduced to him?

        Ocean:       Through Christie.



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       Podsiad:      Christie who?

       Ocean:        Christie, God damn, what’s Christie’s last name. Christie,
                     oh God, from Court Street, she got caught, but she met
                     them through some dude they just call MB, MB, that's all
                     I know.

 Tr. at 7. This is the only reference to Mr. Mitchell, his alleged nickname or otherwise,

 in the interview. The redacted transcript and recording that the Government intends

 to offer at trial contains the following, beginning with the introduction question:

       Podsiad:      How was you introduced to him?

       Ocean:        Through Christie.

       Podsiad:      Christie who?

       Ocean:        Christie, God damn, what’s Christie’s last name. Christie,
                     oh God, from Court Street, she got caught, but she met
                     them through some dude.

 Gov’t’s Opp’n at 1-2.

       The Government’s proposed redactions address any Confrontation Clause

 issue. As the First Circuit held, the application of Bruton and Richardson to redacted

 statements “requires careful attention to both text and context,” and that:

       [t]he mere fact that the other defendants were on trial for the same
       crimes to which the declarant confessed is insufficient, in and of itself,
       to render the use of neutral pronouns an impermissible means of
       redaction. A particular case may involve numerous events and actors,
       such that no direct inference plausibly can be made that a neutral
       phrase like “another person” refers to a specific codefendant.

 Vega Molina, 407 F.3d at 520. Mr. Mitchell and Mr. Ocean were charged with nine

 other Defendants in the conspiracy, eight of whom are men. No direct inference can

 plausibly be made that a reference to “some dude” is a reference to Mr. Mitchell,



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 especially when no mention of him is made anywhere else in the Ocean interview and

 the jury has no reason to believe that this “some dude” was even a member of the

 charged conspiracy. Indeed, the context of Mr. Ocean’s response was to a question

 about how he met Rico; Mr. Ocean told the police that he had been introduced to Rico

 by Christie. There is no direct evidence that this introduction was related to the drug

 conspiracy itself.

        Moreover, Mr. Mitchell’s argument that the impact of Mr. Ocean’s out-of-court

 statements when taken into consideration with other witness testimony regarding

 the existence of the conspiracy is “powerfully incriminating” falls short, as statements

 that are incriminating only when linked to other evidence in the case do not trigger

 application of Bruton’s preclusionary rule. Vega Molina, 407 F.3d at 520.

        The proposed redactions eliminate the risk of the statement being

 incriminating at all, much less “powerfully incriminating” of Mr. Mitchell, and when

 coupled with limiting instructions that direct the jury not to consider Mr. Ocean’s

 out-of-court statements against Mr. Mitchell,4 admission of the statements does not

 run afoul of Bruton.


 4       The Court requested that the Government file a proposed instruction concerning how the jury
 should treat the recorded statement of Mr. Ocean. On June 14, 2016, the Government filed the
 following proposed jury instruction:

        The government introduced evidence that Akeen Ocean made a statement to detectives
        from the New Haven, Connecticut Police Department. I caution you that you may
        consider Mr. Ocean’s statement to the detectives only in resolving whether Mr. Ocean
        is guilty or not guilty. You may not consider or discuss this evidence in any way in
        resolving whether Jermaine Mitchell is guilty or not guilty. Mr. Ocean’s statement is
        evidence only against Mr. Ocean and not against Mr. Mitchell.

        You must decide whether Mr. Ocean did in fact make the statement. If you find that
        Mr. Ocean did make the statement, then you must decide what weight, if any, you feel
        the statement deserves. In making this decision, you should consider all matters in

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        B.      Motion to Sever

        The First Circuit has stated that the “default rule is that defendants who are

 indicted together should be tried together.” Vega Molina, 407 F.3d at 531. This rule

 is subject to some exceptions. Id. Severance is governed by Rule 14 of the Federal

 Rules of Criminal Procedure:

        (a) Relief. If the joinder of offenses or defendants in an indictment, an
        information, or a consolidation for trial appears to prejudice a defendant
        or the government, the court may order separate trials of counts, sever
        the defendants’ trials, or provide any other relief that justice requires.

        (b) Defendant’s Statements. Before ruling on a defendant’s motion to
        sever, the court may order an attorney for the government to deliver to
        the court for in camera inspection any defendant’s statement that the
        government intends to use as evidence.

 FED. R. CRIM. P. 14; see also United States v. Trainor, 477 F.3d 24, 37 (1st Cir. 2007)

 (“The trial court has the discretion both to sever counts to avoid prejudice and to order

 that separate cases be tried together as though brought in a single indictment . . . if

 all offenses and all defendants could have been joined in a single indictment”).

        The proposed redactions to Mr. Ocean’s recorded interview, coupled with a jury

 instruction not to consider any of Mr. Ocean’s out-of-court statements against Mr.

 Mitchell, eliminates the risk of prejudice to Mr. Mitchell and alleviates the need to

 severe the trial. Moreover, as Justice Scalia noted:

        It would impair both the efficiency and the fairness of the criminal
        justice system to require, in all these cases of joint crimes where
        incriminating statements exist, that prosecutors bring separate


        evidence having to do with the statement, including those concerning Mr. Ocean
        himself and the circumstances under which the statement was made.

 Gov’t’s Second Suppl. Requested Jury Instr. at 1 (ECF No. 490). Mr. Mitchell and Mr. Ocean have not
 yet responded to the proposed jury instruction.

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         proceedings, presenting the same evidence again and again, requiring
         victims and witnesses to repeat the inconvenience (and sometimes
         trauma) of testifying, and randomly favoring the last-tried defendants
         who have the advantage of knowing the prosecution’s case beforehand.
         Joint trials generally serve the interests of justice by avoiding
         inconsistent verdicts and enabling more accurate assessment of relative
         culpability—advantages which sometimes operate to the defendant’s
         benefit. Even apart from these tactical considerations, joint trials
         generally serve the interests of justice by avoiding the scandal and
         inequity of inconsistent verdicts.

 Richardson, 481 U.S. at 210. The Court determines that, in the interest of justice,

 efficiency, and fairness, Mr. Mitchell and Mr. Ocean are to be tried together.

         C.      Other Evidentiary Issues

         Mr. Mitchell argues that several statements made by Mr. Ocean and the

 Detectives during the September 4, 2014 interview are hearsay, lack relevance, and

 are unfairly prejudicial. Def.’s Mot. at 3-4. Specifically, Mr. Mitchell objects to Mr.

 Ocean’s statement, in response to a Detective’s question, that some of the named

 dealers were staying “everywhere.” Id. This statement appears in the transcript as

 follows:

         Podsiad:        Okay, about a year and a half. Um, do you remember at
                         that time where they were staying or who they were
                         staying with?

         Ocean:          They was staying everywhere, man.

 Tr. at 11.5 Another issue is Detective Podsiad’s question about whether Jackie

 Madore was dealing with two of the dealers and Mr. Ocean’s response, “I guess so.”6




 5       Mr. Ocean goes on to say that these dealers might stay at “this house” one night and that he
 bumped into them one night at Gemma’s. Tr. at 11.
 6       The full quote is “I guess so. Maybe a couple of times, I use to get high with her, I was like, I
 don’t be in they business.” Tr. at 13.

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 Tr. 13.     Finally, Mr. Mitchell objects to Detective Podsiad’s characterization of

 Bangor as a “hot spot for a lot of these dudes . . . because it’s easily available to get

 firearms here.”7 Id.

        It is difficult to understand why statements from a party defendant are

 hearsay as against Mr. Ocean, FED. R. EVID. 801(d)(2), and in fact Mr. Ocean is not

 objecting to their admission. To the extent that Mr. Mitchell is objecting, the Court

 will instruct the jury that it may not use the contents of Mr. Ocean’s statement

 against Mr. Mitchell. Finally, in the broader context of the interview, the basis of

 Mr. Ocean’s knowledge concerning the activities of some of these dealers is more

 apparent.

        At the same time, the Court has some concerns about the portion of the

 transcript where Mr. Ocean describes an incident where “they stole somebody gun”

 and he later states that “[t]hey tried to say Rico took somebody gun. I don’t know.”

 Tr. at 14. Mr. Ocean’s references are vague and it is unclear whether he actually

 knows or is repeating gossip. The implication that some of the drug dealers may have

 stolen someone’s gun is prejudicial and may cause the jury concern about the

 potential level of violence among the co-conspirators, and as neither Mr. Ocean nor

 Mr. Mitchell has been charged with a gun crime, the probative value is not obvious.

 It is difficult to understand the import of this interchange without a more sufficient

 context, which may become apparent at trial, but the Court may require that the

 Government redact this portion of the Podsiad interview.


 7       In response to Detective Podsiad’s assertion, Mr. Ocean responds, “I don’t even do the gun
 thing.” Tr. at 13.

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       Mr. Mitchell and Mr. Ocean may make appropriate objections to the disputed

 evidence at trial.

 V.    CONCLUSION

       The Court DENIES Mr. Mitchell’s Motion In Limine Regarding Statements of

 Co-Defendant or, in the Alternative, to Sever Defendants (ECF No. 479).

       SO ORDERED.



                                /s/ John A. Woodcock, Jr.
                                JOHN A. WOODCOCK, JR.
                                UNITED STATES DISTRICT JUDGE

 Dated this 15th day of June, 2016




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